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  6
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  7   Chapter 7 Trustee
  8
                               UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                        LOS ANGELES DIVISION
 11

 12    In re                                              Case No. 2:20-bk-21020-BR

 13    THOMAS VINCENT GIRARDI,                            Chapter 7

 14                                                       STIPULATION BETWEEN CHAPTER
                                     Debtor.              7 TRUSTEE AND DEBTOR RE USE
 15                                                       AND TURNOVER OF 100 N. LOS
                                                          ALTOS DRIVE, PASADENA,
 16                                                       CALIFORNIA
 17                                                       Date: February 23, 2021
                                                          Time: 10:00 a.m.
 18                                                       Place: Courtroom 1668
                                                                 Roybal Federal Building
 19                                                              255 E. Temple Street
                                                                 Los Angeles, CA 90012
 20

 21   TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY
 22   JUDGE:
 23            This Stipulation re Use and Turnover of 100 N. Los Altos Drive, Pasadena, California is
 24   made by and between Jason M. Rund, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy
 25   estate of Thomas Vincent Girardi (the “Debtor”), and Robert J. Girardi, as temporary
 26   conservator of the Debtor, and with reference to the following facts:
 27   ///
 28



                                                      1
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  1                                              RECITALS
  2
             A.      Involuntary Petition under Chapter 7 was filed against the Debtor on December
  3
      18, 2020 [Doc 1].
  4
             B.      On December 24, 2020, the Petitioning Creditors filed an emergency motion for
  5
      appointment of an interim trustee [Doc 13], which was granted by the Court on January 5, 2021
  6
      [Doc 39]. On January 6, 2021, the United States Trustee appointed the Trustee.
  7
             C.      On January 13, 2021, the Order for Relief was entered [Doc 64].
  8
             D.      The Debtor’s bankruptcy estate holds title to the residential real property located
  9
      at 100 N. Los Altos Drive, Pasadena, California 91105 (the “Property”).
 10
             E.      The Debtor resides at the Property.
 11
             F.      On February 2, 2021, the Trustee filed his motion for an order compelling
 12
      turnover of the Property (the “Turnover Motion”) [Doc 91].
 13
             G.      On February 12, 2021, Robert J. Girardi, as temporary conservator of the
 14
      Debtor, filed an opposition to the Turnover Motion [Doc 104], stating that he would provide
 15
      the Trustee and his professionals access to the Property on February 19, 2021 and any day
 16
      thereafter upon reasonable notice.
 17
             H.      The parties have reached an agreement that avoids the need for the Debtor to
 18
      move out immediately and addresses the Trustee’s concerns about the marketing and showing
 19
      of the Property.
 20
                                               STIPULATION
 21
             NOW THEREFORE, in consideration of the terms, conditions and provisions of this
 22
      Stipulation and the circumstances out of which the Stipulation arises, the parties stipulate,
 23
      acknowledge and agree as follows:
 24
             1.      Robert J. Girardi shall provide a set of keys, remote controls and alarm code(s) to
 25
      the Trustee within 5 days after the execution of this Stipulation. Notwithstanding the delivery
 26
      of these items, the Trustee and his professionals will not enter the Property without providing
 27
      Robert J. Girardi with 48-hour advance notice by email to lpena@penalaw.com or text to
 28



                                                       2
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

10250 Constellation Blvd, Suite 1700, Los Angeles CA 90067

A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN CHAPTER 7 TRUSTEE
AND DEBTOR RE USE AND TURNOVER OF 100 N. LOS ALTOS DRIVE, PASADENA, CALIFORNIA will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 19, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

SEE ATTACHED NEF SERVICE LIST.
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) February 19, 2021, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

       In light of the Court’s amended general order 20-12, no mail service to the Court will be made.
Debtor
Thomas Vincent Girardi
1126 Wilshire Boulevard
Los Angeles, CA 90017
                                                                    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/19/2021                      Megan Wertz                                                     /s/ Megan Wertz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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   Timothy J Yoo tjy@lnbyb.com




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